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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 25-MJ-02526-LOUIS

 UNITED STATES OF AMERICA,
     Plaintiff,
 vs.

 TOMAS NIEMBRO,
     Defendant.
                                              /

         U NOPPOSED M OTION F OR E XTENSION OF T IME TO P OST B OND

       Mr. Tomas Niembro (“Mr. Niembro”), through undersigned counsel,

 respectfully moves this Court for an extension of time, until the close of

 business on Wednesday, March 26, 2025, to post the personal surety bond. In

 support of this motion, Mr. Niembro states the following:

    1. On March 15, 2025, Mr. Niembro was arrested on a criminal complaint

       alleging Conspiracy to Commit Wire Fraud, in violation of 18 U.S.C. §

       1349, and Money Laundering, in violation of 18 U.S.C. § 1956(h). [ECF

       3; ECF 4].

    2. On March 17, 2025, Mr. Niembro appeared before the Honorable

       Magistrate Judge Lauren Fleischer Louis for his initial appearance.

       Judge Louis ordered his release on a $20 million personal surety bond

       secured by two properties, and an additional $2 million bond with 10%

       down and a Nebbia requirement, among other conditions. [ECF 13].

    3. Mr. Niembro has until close of business on Monday, March 24, 2025, to

       post the bond. [ECF 13].
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    4. Mr. Niembro is in the process of securing the necessary funds, which are

       being wired from abroad. Due to the international nature of the transfer,

       there is a possibility the funds may not be available by the current

       deadline.

    5. Counsel has conferred with the government, and the government does

       not oppose extending the deadline to the close of business on Wednesday,

       March 26, 2025.

       WHEREFORE, Mr. Niembro respectfully requests an extension of time

 until the close of business on Wednesday, March 26, 2025, to post the bond as

 previously ordered.

                                           Respectfully submitted,

                                           S TUMPHAUZER K OLAYA N ADLER &
                                           S LOMAN , PLLC
                                           Two South Biscayne Boulevard,
                                           Suite 1600, Miami, FL 33131
                                           Telephone: (305) 614-1400

                                           /s/ Michael B. Nadler
                                           Michael B. Nadler
                                           Fla. Bar No. 51264
                                           mnalder@sknlaw.com

                                           /s/ Juan J. Michelen
                                           Juan J. Michelen
                                           Fla. Bar No. 92901
                                           jmichelen@sknlaw.com


                         CERTIFICATE OF SERVICE

       I HEREBY certify that on March 21, 2025, I filed the foregoing document

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 with the Clerk of Court via CM/ECF, which will serve all counsel of record

 through the Notices of Electronic Filing or other authorized means for those

 not receiving electronic notices.

                                          By: /s/Juan J. Michelen
                                             Juan J. Michelen




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